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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

In re:                                                             )   Chapter 11
                                                                   )
CENTER CITY HEALTHCARE, LLC d/b/a                                  )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                                  )
al.,1                                                              )   Jointly Administered
                                                                   )
                                        Debtors.                   )   Related to Docket Nos. 340, 936, 1361, 1595, 1699,
                                                                       1870, 2062, 2302, 2620, 3541, 3542, 3923, 4108, and
                                                                   )   4867

           NOTICE OF FILING AND SERVICE OF DEBTORS’ CONSOLIDATED
      FOURTEENTH ORDINARY COURSE PROFESSIONAL QUARTERLY STATEMENT

               PLEASE TAKE NOTICE that on August 2, 2019, the United States Bankruptcy Court

  for the District of Delaware (the “Court”) entered the Order Authorizing the Employment and

  Compensation of Certain Professionals Utilized in the Ordinary Course of Business, Nunc Pro

  Tunc to the Petition Date [Docket No. 340] (the “OCP Order”).2

               PLEASE TAKE FURTHER NOTICE that, pursuant to paragraph 3(g) of the OCP

  Order, on September 13, 2023, the above-captioned debtors and debtors-in-possession

  (collectively, the “Debtors”), (i) filed the Debtors’ Consolidated Fourteenth Ordinary Course

  Professional Quarterly Statement for the Period January 1, 2023 to June 30, 2023 (the

  “Fourteenth OCP Quarterly Statement”), which is attached hereto as Exhibit A, and (ii) served




  1
               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 N. Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.
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               Capitalized terms not defined herein shall have the meanings ascribed to them in the OCP Order.




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copies of this Notice and the Fourteenth OCP Quarterly Statement on the Interested Parties in

accordance with the OCP Order.

       PLEASE TAKE FURTHER NOTICE that any objections to the payments made to the

Ordinary Course Professionals, as reflected in the Fourteenth OCP Quarterly Statement, must be

filed with the Court, and at the same time served upon the Interested Parties, on or before

September 27, 2023 at 4:00 p.m. (EST).

Dated: September 13, 2023                     SAUL EWING LLP


                                           By: /s/ Monique B. DiSabatino
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                                                  Counsel for Debtors and Debtors in Possession




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